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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                          )
                                                  )
                      Plaintiff,                  )
                                                  )
       v.                                         )    C.A. No. 22-1466 (MN)
                                                  )
TESLA, INC.,                                      )
                                                  )
                      Defendant.                  )

                                   NOTICE OF SERVICE

       The undersigned hereby certifies that copies of Tesla’s 3rd Supplemental Responses and

Objections to Plaintiff’s First Set of Interrogatories (Nos. 2 and 3) were caused to be served on

July 26, 2023, upon the following in the manner indicated:

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July 26, 2023




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2023, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

July 26, 2023, upon the following in the manner indicated:

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